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                                                        Wednesday, 15 November, 2017 03:32:20 PM
                                                                      Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                       )
                                                )
                    Plaintiff,                  )
       v.                                       )      Case No. 17-CR-20037
                                                )
BRENDT A. CHRISTENSEN,                          )
                                                )
                    Defendant.                  )

                                        ORDER

       Defendant, Brendt A. Christensen, filed a Motion to Continue Pre-Trial and Trial

Dates (#29) on October 24, 2017. The Government filed its Response (#30) on November

2, 2017, to which Defendant filed a Reply (#33) on November 7, 2017. For the following

reasons, Defendant’s motion (#29) is DENIED.

                                  PROCEDURAL HISTORY

       On June 30, 2017, a criminal complaint was filed against Defendant alleging that

he committed the kidnapping of Yingying Zhang. Defendant was detained. On July 3,

2017, private counsel entered their appearance on Defendant’s behalf. On July 5, 2017,

following a hearing, Defendant was ordered detained pending trial. On July 12, 2017,

Defendant was indicted on one count of kidnapping in violation of 18 U.S.C. §

1201(a)(1). Defendant entered a plea of not guilty and a jury trial was set for September

12, 2017.
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       On August 28, 2017, a pretrial conference was held. Defendant previously filed a

Motion to Continue (#18) the trial date, which the Government joined. During the

hearing, the court granted the motion, vacating the final pretrial and jury trial dates.

The court set a new final pretrial date of February 12, 2018, and a set a firm jury trial

date of February 27, 2018.

       On September 8, 2017, twelve days after the previous hearing, the court granted

private counsel’s Motion to Withdraw (#20) as attorney and appointed the Federal

Defender’s Office to represent Defendant. The court ordered that, adhering to a

previously entered protective order, the Government would provide the Federal

Defender’s Office discovery by the end of the next week. The court also noted that

private counsel was authorized to turn over to the Federal Defender everything in their

possession.

       Due to the possibility of this matter becoming a death penalty case, Defendant

moved for the appointment of death penalty certified Learned Counsel. On September

14, 2017, this court appointed Robert L. Tucker as Learned Counsel in this case. On

October 3, 2017, a superseding indictment was filed alleging Defendant committed a

kidnapping that resulted in death in violation of 18 U.S.C. § 1201(a)(1) and two counts

of providing false statements in violation of 18 U.S.C. § 1001(a)(2). Defendant was

arraigned on the superseding indictment on October 11, 2017.




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       Defendant has filed this motion seeking to have the February trial date vacated

and moved to October 2018. Defendant also asks the court to order the Government to

provide Defendant with all discovery required by Rule 16 of the Federal Rules of

Criminal Procedure no later than January 1, 2018. Defendant also asks the court to

require the Government to file any Notice of Intent (NOI) to seek the death penalty no

later than July 1, 2018.

       Defendant makes multiple arguments in support of his motion for a continuance:

the ends of justice require a substantial continuance; in order to provide Defendant with

effective assistance of counsel, counsel must have sufficient time to investigate and

prepare; the Government has delayed production of Rule 16 discovery; defense counsel

must treat the case as capital at this point, because professional standards require that

“once a client is detained under circumstances in which the death penalty is legally

possible, counsel should proceed as if it will be sought ... [and] must continue to treat

the case as capital until the imposition of the death penalty is no longer a legal

possibility.” Defendant argues that these considerations, when analyzed under the

Seventh Circuit’s seven non-exhaustive factors for determining whether to grant a

continuance motions, require the granting of his motion to continue.




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                                    ANALYSIS

       The Seventh Circuit has provided guidance in considering whether to grant a

motion to continue a criminal trial:

       District courts should consider the following non-exhaustive list of factors
       when ruling on a motion to continue:

       1) the amount of time available for preparation; 2) the likelihood of
       prejudice from denial of the continuance; 3) the defendant’s role in
       shortening the effective preparation time; 4) the degree of complexity of
       the case; 5) the availability of discovery from the prosecution; 6) the
       likelihood a continuance would have satisfied the movant’s needs; and 7)
       the inconvenience and burden to the district court and its pending case
       load.

United States v. Miller, 327 F.3d 598, 601 (7th Cir. 2003).

       The district court is best able to judge the relative weight of these factors, and we
       will not reverse the denial of a continuance absent an abuse of discretion and a
       showing of actual prejudice to the defendant. Id.; United States v. Farr, 297 F.3d
       651, 655 (7th Cir. 2002). As for defendant’s Sixth Amendment challenge, “[o]nly
       an unreasoning and arbitrary ‘insistence upon expeditiousness in the face of a
       justifiable request for delay’ violates the right to the assistance of counsel.”
       Morris v. Slappy, 461 U.S. 1, 11-12, 103 S.Ct. 1610, 75 L.Ed.2d 610 (1983) (quoting
       Ungar v. Sarafite, 376 U.S. 575, 589, 84 S.Ct. 841, 11 L.Ed.2d 921 (1964)).

United States v. Vincent, 416 F.3d 593, 598-99 (7th Cir. 2005).

       Considering the Miller factors and the current posture of the case, the court finds

that granting a continuance of the extreme length requested by Defendant (a trial date

over a year after the Federal Defender’s Office was appointed) is unwarranted. In fact,

such a continuance would be an abuse of discretion.




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       Current defense counsel was appointed on September 8, 2017, and Learned

Counsel, in anticipation by all parties of a superseding indictment, was added six days

later on September 14, 2017. On October 3, 2017, Defendant was charged by

superseding indictment with kidnapping that resulted in the death of the victim.

Importantly, this case is not a death penalty case in its current posture. The

authorization to seek the death penalty has not been received by the prosecution from

the Department of Justice. This authorization may never be received. The court

emphasizes this point for several reasons.

       In the Government’s Response and Defendant’s Reply, both sides offer extensive

argument about the procedures and obligations in a prosecution involving the death

penalty. These arguments are not persuasive at this time. The court is aware that there

are suggested courses of action in a potential death penalty case (such as this case)

which the parties should, perhaps, endeavor to undertake. The court, however, finds

that the five and a half months (172 days) between the appointment of counsel on

September 8, 2017, and the February 27, 2018, trial date is sufficient time for Defendant

to prepare for trial, even subscribing to the suggested courses of action in a potential

death penalty case cited in Defendant’s Reply.

       There is nothing to suggest, and the court finds, that Defendant took any action

which shortened the time for his preparation for trial. However, the court additionally

finds Defendant will not be prejudiced from the denial of his motion to continue as the

case currently stands. Almost half a year to prepare for trial (if counting merely from


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the appointment of his current counsel and not from his initial indictment several

months earlier) is a sufficient amount of time for trial preparation, even in a case where

a sentence upon conviction would be life imprisonment. Indeed, while one portion of

Defendant’s argument appears to suggest that a trial with a potential life sentence upon

conviction is unusual in this court, that is not the case. A brief review of sentences by

this court in the last twenty-four months shows four defendants1 receiving sentences of

life imprisonment after jury trials.2

       Furthermore, whether the potential penalty is life imprisonment or six months in

jail, the burden upon the Government of proof beyond a reasonable doubt on all of the

elements of the offense, and the obligation for zealous advocacy on behalf of Defendant

by his counsel, remain the same. The preparation and advocacy provided to Defendant

should be equally vigorous regardless of the potential penalty. Counsel in this case, on

both sides, are highly competent and experienced professionals, with extensive trial

experience in cases that went to trial in shorter time frames than the time frame at issue

here. Therefore, the court is confident that five and a half months is a sufficient time for

trial preparation and does not prejudice Defendant in any manner.




       1
         United States v. Gmoser, 14-20048; United States v. Shannon, 15-20014; United
States v. Snyder, 15-20045; United States v Lopez, 16-20004.
       2
         In United States v. Shannon, 15-20014, the approximately forty-five year old
Defendant was sentenced to sixty years in prison. The court considers this effectively a
life sentence because Shannon would be roughly 96 years old when first eligible for
release.

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       The court considers the next Miller factor, the complexity of the case, based upon

the pleadings and the descriptions of the evidence within those pleadings. While some

forensic evidence may be involved, the introduction of various types of forensic

evidence is not unusual, and could even be said to be common, in trials involving

physical evidence nowadays. Additionally, this is not a case involving extensive, highly

technical computer forensics, nor is this a fraud-related case involving thousands upon

thousands of pages of documentary evidence. In either of those circumstances, as

examples, the court would be inclined to find that this case was so complex that more

time was needed by the defense to prepare, or perhaps even to assimilate the

prosecution’s evidence. Here, the questions are straightforward: did Defendant commit

a kidnapping of Yingying Zhang that resulted in her death and did Defendant provide

false statements during the investigation. Based upon the issues and descriptions of the

evidence involved in this case, the court finds that this is not a complex case requiring

more than the five and a half months for Defendant to prepare.

       The court does, however, have concerns as to the availability of discovery from

the prosecution. While it appears to the court that most of the discovery under Federal

Rule of Criminal Procedure 16 was provided to Defendant, the court notes that forensic

analysis from evidence seized in June and July 2017 is yet to be provided to Defendant.3

In order for Defendant to have a meaningful opportunity to understand this evidence


       Presumably, written summaries of expert testimony the Government intends to
       3

use under Federal Rule of Evidence 702, 703, or 705 was also not provided pursuant to
Fed.R.Crim.P. 16(a)(1)(G).

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and perhaps engage his own experts, the court orders the Government to provide all

forensic evidence analysis as well as written summaries of expert testimony pursuant to

Fed.R.Crim.P. 16(a)(1)(G) to Defendant no later than December 15, 2017.4

       Considering the next two Miller factors, the court finds that a continuance of

more than a year would assuredly have satisfied Defendant’s needs. However, a

continuance of the trial date of this case with its current posture, particularly after

granting a previous continuance of the trial date from September 2017 to February 2018,

would be a significant inconvenience to the court. The court has already indulged both

parties with an unusually long continuance which disrupted other cases set for trial.5

Based upon the court’s current volume of cases, a continuance of the length requested

by Defendant would also place an unnecessary burden upon the court and its effort to

provide many other parties with their “day in court”, both criminal and civil.

       Moreover, in addition to the Miller factors, the court must also consider the spirit

and purpose of the Speedy Trial Act, 18 U.S.C. § 3161, when ruling on a motion to

continue a criminal trial. One of the purposes of the Speedy Trial Act is to recognize,

protect, and ensure the public’s interest in the resolution of any criminal case.6 Here,


       4
        The court finds it reasonable to presume that five months after evidence was
seized and submitted for forensic analysis, such analysis will be completed and
appropriate reports available.
       5
         The court gives criminal trials with in-custody defendants, such as the instant
case, priority when scheduling or moving trial dates.
       6
        “It should be noted that, while the purpose of the Speedy Trial Act is to protect
the defendant from excessive pre-trial delay and incarceration by the government, it is

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Defendant was arrested in late June 2017 and indicted in July, 2017. A trial in February

2018, roughly seven and a half months after Defendant was arrested and originally

indicted will recognize the public’s interest in a resolution of this case while also

protecting Defendant’s rights.

       In addition to the above deadlines, any pre-trial motions shall be filed by January

15, 2018. Any responses to those motions shall be filed by January 29, 2018. (If any

motion requires a hearing, such hearing will be held on February 5, 2018). All final pre-

trial documents shall be filed by February 9, 2018.

       Both parties should be aware that underlying the court’s ruling on Defendant’s

motion to continue is the premise that the prosecution is not seeking the death penalty.

Should the Government receive authorization and elect to pursue the death penalty, the

court would welcome a renewed motion to continue the trial from Defendant (or the

Government) in order for appropriate dates to be established under those

circumstances. The Government is therefore ordered to provide any notice of intent to

seek a sentence of death no later than February 1, 2018.

       IT IS THEREFORE ORDERED THAT:

       (1) Defendant’s Motion to Continue (#29) is DENIED.

       (2) The Government shall provide all analysis of forensic evidence pursuant to

Fed. R. Crim. P. 16 and written summaries of expert testimony pursuant to written it



also to protect the public’s interest in the speedy resolution of justice.” United States v.
Larson, 417 F.3d 741, 746 (7th Cir. 2005).

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intends to use under Federal Rule of Evidence 702, 703, or 705 to Defendant no later

than December 15, 2017.

      (3) Any pre-trial motions shall be filed no later than January 15, 2018. Any

responses to those motions shall be filed no later than January 29, 2018.

      (4) The Government shall provide any notice of intent to seek a sentence of death

no later than February 1, 2018.

      (5) All final pre-trial documents shall be filed no later than February 9, 2018.

      (6) This case remains set for final pretrial on February 12, 2018, and jury trial on

February 27, 2018.

                        ENTERED this 15th day November, 2017.


                                   s/ COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE




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